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MEMORANDUM

TO: Haseeb Qureshi, Bo Feng ("Dragonfly")
FROM: Collins Belton, Brookwood P.C~("Brookwood'')

DATE: August 24, 2020

RE: Tornado Cash Money Service Bus1ness and Money Transmitter Regulatory Analysis (the
"Analysis")


  l. Executive Summary

        You have requested an analysis of regulatory considerations pertaining to Tornado Cash,
an anonymizing software tool developed by PepperSec Inc. ("PepperSec"), in connection with a
potentia1 investment into PepperSec. Specifi cally, this Analysis considers the potential
applicability of federal money service business regulations and state money transmission laws to
PepperSec as the creator of anonymizing software for virtual currency transactions in the form of
a decentralized application ("dapp") and as the host and operator of a front-end user interface
located at tornado.cash (tJ1e "Site") that provides public access to the dapp' s smart contracts. The
scope of this Analysis is limited to an analysis under the federal Bank Secrecy Act ("BSA") and
the regulations promulgated thereunder (the "BSA Regulations") in addition to an overview of
potentially applicable state money transmission laws. 1 Further, this Analysis is limited to publicly
available facts regarding the dapp and Site, which facts include materials referenced betein,
previous written correspondence, and any other relevant prior discussions wjth Brookwood.
        As explored in the Analysis, PepperSec's regulatory status turns on their conduct. When
PepperSec acts as the developer of the dapp, its role is distinguishable from its role as an operator
of the Site or from certain past actions when it retained greater control over Tornado Cash. This
distinction has a material impact on the regulatory considerations for PepperSec and its future
business models. The Analysis finds that, federally, there are strong arguments that PepperSec is
not a money service busi ness engaged in providing money transmission services simply by
developing the dapp or hosting the Site, because it does not engage in accepting or transmitting
virtual currency or otherwise interact with customer funds in either role. At the state level, this
analysis holds in several states that regulated virtual currency like the federal government. but
certain states are not as flexible wil l potentially warrant further review by PepperSec in the future.
        U.S. regulators have specifically identified the provision of anonymizing software alone as
insuffic1ent to qualify a person as a money transmitter. But, where a person uses such software to
provides anonymizing services, their conduct implicates money transmissioh laws. To that end,
this Analysis also explores certain of PepperSec' s past activities and future business models,
seeking to highlight potential areas of risk that Dragonfly should specifically diligence prior to


1 This Analysis does not seek lo provide guidance wit!\ respect to any other regulatory frameworks that might apply

to Tornado Cash or otJ1er activities, including U.S. securities laws, conunodities laws. The Analysis is not a legal
opinion nor is it intended to be relied on by third parties outside of Dragonfly as legal advice.




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completing their investment. We conclude with a summary of our analysis, and additi onal thoughts
on what Dragonfly might consider following up on with PepperSec.
        This Analysis is divided into six parts, Part TI provides a factual background of Tornado
Cash, its method of operation, and relevant hi storical events that are pertinent for this Analysis.
Part III is an overview of the federal law framework applicable to PepperSec' s conduct, with a
substantial focus on the BSA and the BSA Regulations. Part TV contains our core analysis of
Tornado Cash and PepperSec's activities. Pa11 V considers state money transmission laws and
other state l.icensure requirements. Part VI summarizes our Analysis and contains our final
conclusions and recommendations.
    0. Facts2
               a. Background

        PepperSec is a technology services Company that has built Tornado Cash, an open source,
freely available, privacy-preserving tool that uses novel cryptographic techniques to enable any
participant on the Ethereum network to send and receive virtual currency in an anonymous and
private fashion. Specifically, Tornado Cash enables anyone on the Ethereum network to deposit
ETH and certain other virtual currencies into decentralized smart contracts that can subsequently
be withdrawn by a different address. By enabling withdrawals to a new address without associating
that withdrawal to the original depositor address using Tornado Cash's smart contracts, "there is
no way to link the withdrawal to the deposit, ensuring complete privacy."3

        In addition to developing Tornado Cash, PepperSec also operates the Site, which provides
a front-end user interface to facilitate access to Tornado Cash. Unlike the Tornado Cash smart
contracts, which are hosted across Etherew11 nodes, the primary version of the Site is privately
hosted by PepperSec. However, the Site only provides a user intetface to interact with Tornado
Cash and is not required to access Tornado Cash itself. Savvy Ethereum users cru1 access the smart
contracts directly on the Ethereum network, bypassing PepperSec entirely if they so choose. In
this manner, the Site is more of a facilitator to access Tornado Cash for less knowledgeable users
rather than an inherent part of Tornado Cash itself.

        The privacy functionality offered by Tornado Cash has several applications. Because
transactions on most blockchain networks, including the Ethereum network, are public by default,
Tornado Cash offers users an ability to transact with others without fear of their entire financial
history bein,g publicly disclosed. This assurance is crucial for widespread adoption of virtual
currencies, as few people are comfortable revealing months or years of financial history to
participate in daily commerce. Moreover, businesses who are increasingly interested in integrating
virtual cun-ency into their operations must presently contend with the risk of competitors
monitoring and front running their business activity in the absence of privacy preserving tools like


2
    In the interest of time and consideration for e.,,pense. the factual summruy below assumes familiarity with common
cryptocurrency definitions including a blockchain, gas. the Ethereu01 network, ETH, etc. Where certain teclm.ical
definitions are relevant to this Analysis. we provide a brief summary and refer out to other resources if the reader
would like further background on these matters.
3
   See Tornado Cash, Inrroducing Privale 1iw1sactions On E1hereu111 NOW.I. Medium (Aug. 6, 2019),
htlps://medium. coni/r"aJtomado.cash/.inlrodncing-private-lrnnsactio11S•on-ethcreum-11ow-42ec9 l 5babe0 (t·he ''Lau och
Announcement') (emphasis original).




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Tornado Cash. Of coutse, just as is the case with other freely ava ilable, open source privacy tools,
Tornado Cash may also be used by unscrupulous actors to engage in money laundering or other
iJlidt activities. However, PepperSec has no ability to distinguish between or prevent certain kinds
of users from accessing the Site other than IP bans, and as discussed shortly, a version of the Site
is hosted independent of PepperSec or any centralized operator.

        Currently, PepperSec derives no income and does not generate fees as the developer of
Tornado Cash or as the operator of the Site. 4 1n the future, PepperSec may generate revenue in
several ways. One method may include providing additi onal value added services to users of
Tornado Cash. Another may involve operating a Rel ayer (see below) and charging additional fees
for the use of such services. Others still may involve providing consulting services to other
ventures, or creating a digital asset to govern the operation and future development of Tornado
Cash. 5
           b. Method ofOperation

        A full discussion of the technical elements of Tornado Cash and the cryptographic
techniques it uses to preserve privacy exceeds the scope of this Analysis, but the core functions of
the protocol and methods metit a brief review, as they form the core of the Tornado Cash
architecture and impact PepperSec' s regulatory status. In the simplest form, the Tornado Cash
Protocol offers users two key functions: (j) deposits into and (ii) withdrawals from Tornado Cash
smart contracts.

        When a user initiates a deposit, it generates a secret message and "sends [the] hash6 [of that
message] (called a commitment) along with [the] deposit amount to the Tornado [Cash] smart
contract." 7 Tornado Cash then accepts the deposit to be held in the smart contracts alongside
deposits from other users, and it adds the commitment to a list of deposits that is internall y tracked
by the smart contracts.8 If the user subsequent!y wishes to wi tbdraw to another wallet without
linkages to its original wallet, the user simply provides the Tornado Cash smart contracts with
proof in the form of a signed message that it possesses a secret message associated with an unspent
deposit. Once the smatt contracts verify the proof, it can then transfer deposited funds to the
specified address without an association to the original wallet.


4
  We note that we arc unclear from the currently available infonnation if PepperSec previously generated fees in
excess ofEthereum networl<. transaction recs as a Relayer and would recommend Dragonfly consider inquiring about
this in diligence.
5
  Note tJ1at these arc all assumptions premised off of publicly available comments from PepperSec team members.
industry trends. and comparable companies.
6
  A hash in Lhis conte>..1 means the result or a Cl)'ptographic function that converts some arbitrary set of words and
numbers (i.e. data related to the original deposit) into a seemingly arbitrary set of numbers. This set of numbers can
be indexed in a table or other data stmcturc in a way that associates the original set ofdata with the seemingly arbitrary
set of numbers, and provided someone has access 10 the original function used to create the hash. also aJlows someone
10 quickly look up that. original data by referencing only the hash. Properly done. the hashing function makes it
mathematicaJJy impossible in t-I1e course of many human lifetimes (ignoring the possibility of future teclmology
advances) to reverse engineer the original message or get the same arbitrary set of numbers for a different message.
7
  See Laimch Announcement, s upra note 3.
8
  For a foll discussion of tJ1e mathematical fommlae a nd applied cryptography employed in t11e deposit process, see
Alexey Pertsev, Roman Semenov. and Roman Stom1, Tornado Cash PriFacy Solution Version I. -I, Tornado.cash (Dec.
17, 20 19). ht1ps://tomado.casl1/Tornado.cash whilepaper ,. l .4.pdf (the ··wt11tepnper").




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        Witbdrawals can be conducted using two methods. In the first and most straightforward
method, a user already possesses an Ethereum address it intends to withdraw to when it initiates a
withdrawal request. In that case, once a user submi ts its withdrawal proof, they simply pay the
network transaction fee and the deposit is released to the new wallet. However, if it is a new
wallet, a circular problem emerges. That is, in order to submit a message to the Tornado Cash
smart contracts, a user must already have received ETH.fiwn a wallet. If depositor uses a wallet
associated with their identity (e.g. by using an exchange they have submitted identification
materials to), then senrung the transaction fee rurectly to the new wallet could undermine the entire
purpose of using Tornado Cash by creating a linkage from their new wallet to the depositor.

         To address this issue, Tornado Cash also allows for withdrawals using a second method, a
Relayer, A Relayer essentially provides a proxy address that can pay the gas fee on behalf of a
Tornado Cash user. ln exchange for this service, the user pay some transaction fee to the Rel ayer
smart contract (which should, ata minimum, be equal to at least the minimum gas fee to incentivize
a Relayer to pick up the transaction), and the gas fee the Relayer pays to the Ethereum network is
automatically deducted from this transaction fee chosen by the user.9 Once the Relayer submits
the gas fee and conveys the user' s transmittal instructions to the Tornado Cash smart contracts, the
sma11 contracts releases the deposit to the user' s designated wallet, less the transaction fee paid to
the Relayer. 10 At launch, PepperSec provided the onJy Rel ayer service, 11 but adrutional Relayers
hav e si11.c e been added to enhance the robustness of the tool ,

        In order to ensure that an external observer cannot associate a specific deposit with a secret
message when a user withdraws virtual currency, Tornado Cash employs a cryptographic
technique known as Zero Knowledge Succinct Non-Interactive Argument of Knowledge ("zk-
SNARKS"). While a full discussion of the underlying logic of zk-SNARKS is also beyond the
scope of this Analysis, at its core, the idea is that zk-SNARKS provides a framework where "one
can prove 12 possession of certain information, e.g, a secret key, without revealing that information,
and without any interaction between the prover and verifier." 13 The "succinct" aspect of the tetm
refers to the amount of time required to verify the information, while the "non-interactive" aspect
refers to the ability of one party (i.e, the prover) to prove to another party (i.e. the verifier) the
existence of the data in a single message.14

        As of the date of this draft, "the most efficient known way to produce zero-knowledge
proofs that are non-interactive and short enough to publish to a block chain is to have an initial
setup phase that generates a common reference string shared between prover and verifier." 15 The


9
    See White Paper al page 1.
111 /d.
11
    Note that this should be con.finned w ith the Company.
IJ Technically. the proof is not a mathematically fonnal proof. hence the reference to non-interactive "arguments"
rather than non-inte ractive ··proofs."
13
   See E lectric Coin Co .. What are zk-SNA!?KS?, Zcash https://1.. cash/technologvl:t.ksnarks/ (last accessed August 23.
2020) ("ZCash Piimer").
14 Id. ('" Succinct' zero-knowledge proofs can be verified within a few milliseconds. with a proof length of only a few

hundred bytes even for statements about programs tliat are very large. In the first zero-knowledge protocols, the prover
and verifier had lo communicate back and fortl1 for multiple rounds. but in " non-i.nternclive·' constructions, the proof
consists of a single message sent from prover to verifier.").
is Id.




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setup phase is often referred to as a "Trusted Ceremony," 16 and the reference string serves as the
"public parameters" of the system employing a certain implementation of zk-SNARKS and are
generated using "secret rando.tnness." 17 If a person can somehow compromise the Trusted
Ceremony or otherwise access or reverse engineer the randomness used to generate the reference
string, they can create false proofs that would appear valid to other verifiers. By generating false
proofs, they could engage in malicious activity such as generating additional units of virtual
currency. In order to compromise this setup, however, an attacker " must compromise every single
participant of the ceremony." 18 As such, the larger the set of pa1ticipants in a Tmsted Ceremony,
the more difficult it will be for a mahcious actor to compromise the security of the underlying
system.19 Tornado Cash uses its own implementation of zk-SNARKS that is further described in
the White Paper and other publicly available materials.

                c. Historical/,y Significant Events

        While we considered all facts that appeared relevant to us in preparing this Analysis, there
are a few key events in PepperSec"s hi story that transpired during the development of Tornado
Cash that we believe may have lingering effects that we describe later in this Analysis. For now,
we have set forth a brief timeline of relevant events below before turning back to our analysis:

            •    August 6, 2019: Tornado Cash version 1 is publicly announced and released. 20 The
                 smart contracts deployed in connection with the launch pennits only the deposjt of a
                 relatively small amount of ETH (i.e. 0.1 ETH) per transaction, and PepperSec retains
                 an administrative key that gives them control of a multi-signature wallet where users
                 funds are held. The administrative key also allows PepperSec to make ce1tain smart
                 contract changes on a unilateral basis.21
            •    October 12, 2019: PepperSec announces the discovery of a bug in the zk-SNARK
                 implementation of an underl ying bash function Library dependency of tbe Tornado
                 Cash smart contracts (the "October 2019 Bug").22 The bug would have allowed a
                 malicious attacker to drain all funds from the Tornado Cash deposit smart contract.
                 Upon discovering the bug, PepperSec agents proactively drain all funds from the
                 version I contracts themselves, deploy a set of interim smart contracts to migrate user
                 funds to, and subj ect to a completed audit, the Company pledge that "the contracts
                 will be upgraded to remove the ability for the Tornado Cash team to control the




16
   See e.g. Tornado Cash, Tornado. cash Trusted Setup Ceremony, Medium (May I, 2020),
l1ttps://medium.coml(fiJ.toniado.casb/tornado-cash-1rustcd-se1up-cercmouv-b846cJc00bcl ("Tmsted Ceremony
Announcement").
17
     See ZCash Primer.
18
     See Trusted Ceremony Announcement.
19 Id.
20 See Launch Announcement, supra note 3.
21
   See William Foxley, De~ie/opers of Ethereum Privacy Tool Tornado Cash Smash Their Key s, CoinDesk (May 18.
2020). hltps://www.coindcsk.com/developcrs-of-etbcreum•privacy-tool-tomado-cash-smash-tbeir-kevs.
22
   See Tornado CaslL t ornado, cash go/ hacked. By us., Medium (Oct. 12, 20 19).
lltlps://medmm.coni/((il.tomado.cash/lomndo-cash-got-hacked-bv-us-bleO l2a3c9o8.




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                 contracts state and upgradability permissions will be revoked" no later than two
                 months from the date of publication.23
             •   December 17, 2019: PepperSec announces Tornado Cash version 2 (the "Version 2
                 Upgrade"). The Version 2 Upgrade includes several upgrades such as higher deposit
                 limits, support for Ethereum-based tokens, and transaction fee optimizations.24 The
                 Version 2 Upgrade also introduced Relayers that were not affi]iated with PepperSec
                 and removed PepperSec' s administrative key upgrade functionality, although it did
                 still retain some functionality enabling PepperSec to unilaterally provide verification
                 key updates in anticipation of Tornado Cash' s Trusted Ceremony.25
             •   February l, 2020: PepperSec announces the discovety of a different bug on the user
                 interface located at the Site (the "February 2020 Bug").26 This announcement does
                 not detail the extent of the vulnerability except to acknowledge that a small number
                 of users were impacted, that it impacted their privacy but not the safety of their funds,
                 and that the bug had been remedied with a post-mortem to come.27
             •   February 13, 2020: PepperSec supplements its February 1, 2020 announcement with
                 a detailed breakdown of the February 2020 Bug.28 They highlight that the February
                 2020 Bug involved a shareable hyperlink that could potentially expose the content of
                 a depositor' s private note, which might allow anyone who gained access to this
                 information to withdraw unspent deposits and associate already spent deposits with
                 withdrawal addresses?> However, no deposits were exposed and the bug was patched
                 before any malicious attacker can withdraw user funds.
             •   May 1, 2020: PepperSec announces the launch of its zk-SNARKs Trusted Ceremony,
                 publicly soliciting all interesting Ethereum network participants to participate in the
                 ceremony to improve the long-tenn security guarantees of Tornado Cash.30
             •   May 13, 2020: PepperSec announces the conclusion of its zk-SNARKs Trusted
                 Ceremony. With more than 1,000 participants, it becomes the largest,_ publicly-
                 known Trusted Ceremony for zk-SNARKs to date. PepperSec also announces that
                 they expect to destroy their administrative key after a few days of monitoring the
                 performance and security of Tornado Cash.31
             •   M.ay 20, 2020: PepperSec am10unces that it has destroyed its administrative key and
                 set the operator address of all of its smart contracts to an address no one can access,


23 Id.

;;M See Tornado Cash, Tornado.cash version 2 has been released. Medium (Dec. 17, 201 9)
l1tlps://mediu111.com/(0J1onmdo.cash/tomado-cash-vc.rsio11-2-lias-bcei1-releascd-8c739d3706df.
~5 Id.
26
     See Tornado Cash, Tornado.cash vulnerability alert, Medium (Feb. I, 2020).
111 Lps://medi u111.com/(aJ 10nmdo.casb/tomado-cash-, ul ncmbi Iii y-aleit-787c0552f950.
21 Id.
28
     See Tornado CaslL Vulnerabili(y disclosure, Medium (Feb. 13, 2020},
https:// medium.co m/({lltomado.cash/vulucrability-disclosme-f6 l UJb7f2c8d.
29 id.

.i o See Trusted Setup Ceremony, supra note 16.
31 See Tornado Cash, The biggest Trusted Setup Ceremor~y in the world, Medium (May 13, 2020),
lltlps://medium.com/([/)_tornado.cash/U1e-biggest-tmsted-sclup-ceremony-in-lhe-,vorld-3c6ab9c8fffa .




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               making Tornado Cash a fully permissionless protocol on the Ethereum network. 32
               PepperSec also confirms that it no longer provides any Relayer functionality, with all
               of such functionality being provided by unaffiliated patties.33 Further, PepperSec
               announces that a version of the Site has been deployed to the interplanetary file
               system (''IPFS"), a decentralized and pennissionless file storage and web hosting
               tool that enables the deployment of front -end websites independent of a centralized
               web host. 34
          •    June 3, 2020: PepperSec annoW1ces the release of a compliance tool designed to
               ensure that Tornado Cash users can establish provenance of funds if necessary, for
               commercial or legal purposes. 35

Ill. Applicable Federal Law Framework

        Part III of this Analysis reviews the applicable federal regime for money service businesses
and certain criminal law regimes that.may apply to PepperSec' s activities as the creator of Tornado
Cash, operator of the Site, or in certain other contexts.

              a. Overview ofthe BSA and FinCEN

        Federally, the BSA and the BSA Regulations act as key pillars of the United States' anti-
money laundering ("AML") and counter-terrorist financing ("CFT'') compliance framework that
applies to all "financial institutions.'' The framework requires financial institutions to, amongst
other items, register with the federal government, establish effective customer identification
programs with adequate know your customer (" KYC") and AML processes, and observe certain
disclosure, reporting, and record retention requirements. The Financial Crimes Enforcement
Network ("FiuCEN"), a division of the U.S. Department of Treasury, is the principal body that
enforces the AML and CFT obligations of the BSA Regulations. fjnCEN is also charged with
producing implementing regulations for the BSA and providing interpretive guidance for the BSA
Regulations.
       The definition of a financial institution in the BSA includes a category of persons defined
as "Money Service Businesses" ("MSBs"). 36 This category includes a subset of persons known as
"money transmitters."37 Persons who qualify as money transmitters must register with FinCEN
and comply witJJ the requirements of the BSA regulations. As the definition of a "person"
encompasses individuals, corporations, and "all entities cognizable as legal personalities" 38 in the
BSA, the BSA Regulations have a particularly broad scope of applicability to various activities
that PepperSec may be engaged in,


32
   See Tornado Cash, Tornado.cash L<; Final(y Trustless/, Medium (May 20, 2020),
https:// medium.coml(iil1orm1do.casl1/tornado-cash-is-finally-1mstJcss-a6e 119c l d Icl.
33 Id.
34 Id.
15
• See Tornado Cash, Tornado.cash compliance, Medium (Jun. 3. 2020). bttps://medium.com/1(/Jtornado.cash/tomado-
cash-compliance-9abbf2.54a370.
% 31 C.F.R. § 1010.l00(t).
17
• 3 1 C.F.R . § l010.100(ft)(5),
38
   31 C.F.R. § lO IO. IO0(mm) .




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         The penaJties for violating the BSA Regulations can be severe. By default, FinCEN may
impose a range of civil penalties for failure to register as an MSB or have an adequate state license
for certain regulated activities, These civil penalties typically include substantial monetary fines,
but may also include prohibitions on individuals or entities from engaging in certain financial
activities in the future, sometimes permanently. Certain violations of the BSA may further be
criminally prosecuted by the U.S. Department of Justice (the "DO.f') working in concert with
FinCEN as felonies. Common felonious charges for violating BSA Regulations include money
laundering,39 conspiracy to commit money laundering,40 operating an unlicensed money
transmission business,41 and violating state laws that mandate licensure of certain financial
institutions. All of these crimes may be punished with imprisonment and severe criminal monetary
penalties, which are often exponentially larger than civi l penalties due to their punitive intent.
                        ;_ Federal Regulatjon qf Jvfoney Transmission and Virtual Currency
                           Technology

          The BSA Regulations include «money transmitters" as MSBs. Money transmitters are
persons providing "money transmission services," or otherwise engaged in the transfer of funds ..i2
Money transmission services involve " the acceptance of currency, funds, or other value that
s1.1bstitutesfor currency from one person and the transmission of currency, funds, or other value
that suhstitute for cun-ency to another location or person by any means." 43 These broad definitions
provide FinCEN with wide flexibility in applying the BSA Regulations, regardless of corporate
form or the use of novel technology. Whether a person constitutes a money transmitter is therefore
"a matter of facts and circumstances" 44 that requires an analysis of a person ' s proposed activities
rather than their corporate status or nomenclature used.

       The BSA also includes exempt categories of persons that do not constitute money
transmitters, even when they provide the means for others to engage in money transmission
services or engage in the transfer of value themselves. Relevant for purposes of this Analysis are
two specific exemptions. First, persons who merely provide the "delivery, communication, or
network access services used by a money transmitter to support money transmission setvices" are
exempt from qualifying as money transmitters (hereinafter referred to as the "Developer
Exemption"). 45 Second, a person wi ll not be a money transmitter if they '"accept and transmit
funds only integral to tbe saJe of goods or the provision of services, other than money transmission
services, by the person who is accepting and transmitting the funds" (hereinafter referred to as the
"Integral Exemption'').46 As discussed further below, these exemptions reflect FinCEN's focus
on regulating those engaged in providing money transmission services rather than those who
merely provide the software or other means to do so.




39
     18U.S.C. § 1956(a).
,,(, 18 U .S.C. § 1956(h).
4 1 18 U.S.C. § 1960(a).
42
     31 C.F.R. § 1010. I0O(fi)(S)(i).
43
     31 C.F.R . § 1010. IOO(fi)(S)(emphasis added).
44 Id.
45
     31 C.F.R . § 1010.IOO(fi)(S)(ii)(A)
~6 31 C.F.R. § l 0 10. IOO(fi)(5)(ii)(F)




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        The BSA Regulations are expansive, and FinCEN recognized that understanding their
application can be challenging for market participants dealing with virtual currency. To that end,
FinCEN has promulgated interpretive guidance in addition to its enforcement activity to further
delineate the application of the BSA to virtual currency activities. The two most relevant pieces of
guidance for purposes of this Analysis are two reports produced by FinCEN in 2013 and 2019,
respectively.
                   ii. 2013 Virtual Currency Guidance

        In 20l3, FinCEN issued interpretative guidance seeking to clarify the applicability of BSA
Regulations to virtual currencies (the "2013 Virtual Currency Guidance").47 There, FinCEN
distinguished between real currency, and virtual currency, defining the latter as a "medium of
exchange that operates like a real currency in some environments, but does not have all the
attributes of real currency," including status as legal tender. 48 Further, FinCEN emphasized that
the 2013 Virtual Currency Guidance applied solely to convertible virtual currencies ("CVC''),
which it defined as a "type of virtual currency [that] either has an equivalent value in real currency,
or acts as a substitute for real currency." 49
        While FinCEN failed to provide further examples of what type of vi11ual currency would
qualify as a CVC in the 2013 Virtual Currency Guidance, later guidance from the Financial Action
Task Force ("FATF") 50 helped clarify the distinction between convertible and non-convertible
virtual currencies. FATF's guidance is not binding legislation within the U.S. , but its definition
aligns with FinCEN' s approach and was shaped in part by U.S. regulators as active members of
FATF. In its guidance, FATF defines CVCs, such as Bitcoin, as virtual currencies that have
'"equivalent value in real currency and can be exchanged back-and-fo11h for real currency."51 Non-
convertible virtual currencies, such as Amazon credits, are considered virtual currencies that are
"intended to be specific to a particular virtual domain or world ... and under the rules governing its
use, cannot be exchanged for fiat currency ." 52 For purposes of this Analysis, we have assumed that
the 2013 Virtual Currency Guidance is relevant to PepperSec, because Tornado Cash uses virtual
currencies that are widely recognized as CVCs by FinCEN, such as ETH.
       The 2013 Virtual Currency Guidance established a tripartite framework for classifying
CVC market participants. Persons transacting in CVCs are categorized as "users," "exchangers,"
or "administrators." Users are persons who obtain CVC to purchase goods and services on their
own behalf (and not as a business or for the accounts of others) and are not MSBs under the BSA. 53
On the other hand, exchangers are defined as persons "engaged as a business in the exchange of

''i See FIN-2013-G00 I, Application qfFinCEN's Regulations 10 Persons Administering, Exchang ing, or Using Virtual
Currencies (Mar. 18. 2013), available a1 httos://www .finccn.gov/sites/dcfault/filcs/sharcd/FIN-20 13-O00 l .pdf.
•1~Id. at I.
49 Jd.
50
   The Financial Action Task Force (F ATF) is an independent inter-governmental body that develops and promotes
global money laundering and terrorist financing policies. While FATF docs not produce binding legislation, FATF
guidance and recommendations are broadly recognized as global AML and CFT standards, and member states often
imple me nt legislation in line with the entity ' s recommendations. Their guidance is thus instructive with respect to
how member states may define assets ·within tl1eir own body of law.
51 See, Financial Action Task Force. Virlua/ Currencies Key Definitions and Po1en1ia/ Alvfl/CFT Risks, 4 (2014 ),

hl1ps://wv.'w.fatf-gafi.org/media/fatf/documents/reports/Virt11<1l-currency-key-definit10ns-and-potential-aml-cft-
risks.pdf.
51 Id.
53 See 2013 Virtual Currency Guidance, supra note 47 at 2.




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virtuaJ currency for real currency, funds, or other virtual currency," 54 and administrators are
defined as persons "engaged as a business in issuing (putting into circulation) a virtuaJ .ctmency,
and who has the authority to redeem (to withdraw from circulation) such virtual currency." 55
Unlike Users, if either an Exchanger or an Administrator "(i) accepts and transmits [CVC] or (ii)
buys or sells [CVC] for any reason," they are deemed to be money transmitters subject to the BSA
Regulations, unless an applicable exemption applies. 56
                     ;;;_ 2019 Virtual Currency Guidance

        Following publi cation of the 2013 Virtual Currency Guidance, FinCEN and its
representatives issued several administrati ve orders and public statements to provide further
guidance. 57 And, in 2017, FinCEN, in conjunction with the DOJ, announced one of the largest
enforcement orders against t11e exchange BTC-E, highlighting the applicability of the BSA to CVC
businesses.58 However, market confusion remained about the applicability of the BSA regulations,
and in response to sustained inquiries from market participants, on May 9, 2019, FinCEN produced
additional interpretative guidance (the "2019 Virtual Currency Guidance").59 The 2019 Virtual
Currency Guidance was not intended to supplant the 2013 Virtual Currency Guidance, but instead
supplements it by consolidating previous guidance and applying FinCEN' s regulatory framework
to several examples of common CVC business models.
        The 2019 Virtual Currency Guidance emphasized FinCEN's substantive approach of
focusing on the facts and circumstances of a person's activities with CVC. It clarified that,
irrespective of what order CVC is accepted or transmitted, or whether one or more CVCs are
exchanged, exchangers and administrators who accept and transmit CVC will still qualify as
money transmitters absent an available ex.emption.60 It further clarified that such persons were
engaged in money transmission regardless of whether they accept and transmit CVC repeatedly




54 Id. (emphasis added).
55 Id. (emphasis added).
56
   Id. at 3.
5
    For instance, in 20 14, FinCEN held that a company making investments in virtual currency by producing and
    '
deploying software where vinual currency holders could initiate a process 10 sell virtual currency to the company did
not qualify as a money transmitter. FinCEN Ruling 20 l4-R002, Application of FinCEN's Regulations to Virtual
Currency        Software       Development        and    Certain    Investment    Activi1y     (Jan.     3(),  2014),
https://www.fincen.gov/sites/default/ files/shared/FTN-20 l4-R002.pdf. In another 20 14 action, FinCEN found that a
company operating a convertible virtual currency trading book and platfonn with custodial accounts was a money
tmnsmitt.er. FinCEN Ruling 2014-R0l l , Request for Administrative Ruling on the Application of FinCEN's
Regulation to a Virtual Currency Trading Platform (Oct. 27, 2014). See also, Letter from Drew Maloney, Assistant
Sec'y, US Dep'tofthe Treasury, to Senator Ron Wyde n, US Senate Comm. on Fin. (Feb. 13, 2018).
58
   See, IN THE !v[•lTT'ER OF: BTC-E a/km Canton Business Corporation and Alexander Vinnik. No. 2017-03.
Assessment             of            Civil           Money          Penalty        (July           26,         2017).
htlps://~'"'"v.fincen.go,'lsites/defau1t/filcs/enforcemen1 action/2U20-05-
21/Assessment%20for°/c,20BTCeVlIUlik¾.20FINAL2.p<lf.
59
    See FlN -2019-GO0I. Application of P,nCl!.N's Regulations to Cerrain Business 1\1/odels involving Convertible
Virtual Currencies (May 9, 2019). https://www.fincen.gov/sites/dcfault/files/shared/FIN-2013-GOOl.pdf (the "2019
Virtual Currency Guidance'') ,
  Id. at 8.
Ii(•




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on an account basis, in one-off transactions, or only on conditional terms ptu-suant to
predetermined conditions.6 1
        These general princi pies, together with FinCEN' s recognition that certain activities warrant
exemption from the application of the BSA Regulations, serve as the bedrock for FinCEN' s
analysis in the 2019 Virtual Currency Guidance. The result is a framework that distinguishes
between those who provide the means that enable others to engage in money transmission on the
one hand, and business or platform-operators that actually provide money transmission services
using these means on the other. As described further below, they specifically recognized this
distinction applying in the context of anonymity-enhanced CVC activity. Accordingly, the fact
that PepperSec may not qualify as a money transmitter in a developer context does not necessarily
mean that PepperSec is not a money transmitter in another context as a business or platform-
operator.
IV. Federal Law Analysis

              a. Development of Tornado Cash Alone Does Not Constitute N[oney Tran!>mission
                   Because PepperSec 's Development Activity Qualifies jar the Developer /.:,xemptio11

          In the 2019 Virtual Currency Guidance, FinCEN establi shed a taxonomy for analyzing
anonymity-enhanced CVC transactions (''Private Transactions"). They categorized these
transactions as either (i) transaction denominated in ordinary CVC (e.g. Bitcoin) but structured in
a way to mask information that would normally be publicly viewable by default on a public ledger
or (ii) transactions denominated in CYC specifically designed to prevent tracing (i.e. privacy coins
like Monero).62 They further distinguished between anonymizing services providers and
anonymizing software providers. 63

        Anonymizing services providers ate engaged in providing money transmission services, as
they accept and transmit CVCs on behalf of users. However, anonymizing software providers do
not qualify as money transmitters, as they only provide the means for money transmittors (i.e.
those who merely provide transmittal instructions to money transmitters) to submit transmittal
instructions that a money transmitter must execute and are therefore eligible for the Developer
Exemption,64 Whether PepperSec qualifies as a money transmitter is thus dependent on what role
PepperSec occupies in the Private Transactions conducted by Users through Tornado Cash.

61
    Id. CfAl person may be a money transmitter when operating either on a transactional basis or on an account
basis ... fand] a person will qualify as a money transmitter if that person accepts value with the intent of transmitting it
only wider certain conditions.").
m Id. at 18 (..Anonymity-enhanced eve transactions arc tr<1nsactions either (a) denominated in regular types of eve.
butstmctured to conceal infonnation otherwise generaJly available through the eves native distributed public ledger:
or (b) denominflled in types or eve specillcally engineered to pre\'ent their tracing tJ1rough distributed public ledgers
(also caJlcd privacy coins).").
63
    Id. at 19 ("Providers of anonymizing sen1ices, commonly referred to as " mixers" or" Lumblers." are either persons
that accept eves and retransmit them in a manne r designed to prevent others from tracing the transmission back to
its source (anonymizing seivices provider), or suppliers of software a tl'°dnsmittor would use for tJ1e same purpose
(anonymizing software provider).").
64 id. al 3 C FinCEN 's regulations define the tem1 "money transmitter'' to include a '·person that provides money

transmission seivices."' or "any 0U1er person engaged in tJ1e transfer of ftmds." A "tr,msmittor." on the other hand. is
'·LtJhe sender of the first transmittal order in a transmittal offunds ... In othenvords. a transminor initiates a transaction
that U1e money transmitter actually executes.")(emphasis original).




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       As the developer of Tornado Cash smart contracts~ PepperSec acts as an anonymizing
software provider and has strong arguments that they qualify for the Developer Exemption.
Tornado Cash does not entail PepperSec accepting and retransmitting any CVC on behalf of
Tornado Cash users, as it is completely noncustodial and PepperSec has no ability to access the
underlying funds or to change tbe parameters of the smart contract to effectuate the transmission
of user's funds. Rather, Tornado Cash is precisely the type of Private Transaction software
FinCEN identified as providing the means for money transmittors (i.e. Tornado Cash users) to
provide privacy enhanced transtnittal instructions to Ethereum network.65

          In addition, another section of the 2019 Virtual Currency Guidance unrelated to Private
Transactions generally established that, "the developer of a [da]pp is not a money transmitter for
the mere act of creating the application, even if the purpose of the [da]pp is to issue a CVC or
otherwise facilitate financial activities denominated in CVC." 66 This exemption also traces its roots
to the Developer Exemption in that FinCEN reasoned that developers creating dapps are engaged
in the production of goods and services rather than money transmission itself.67 Accordingly,
whether it is as a general dapp developer or as an anonymizing software provider, we believe
PepperSec has strong arguments that mere development of Tornado Cash is insufficient to require
registration as a federal MSB.

             b. Development and Hosting of the Site Does Not Constitute Jvfoney Transmission
                because PepperSec is Merely Providing a Means to Access Tomado Cash Smart
                Contracts

        The development of the Site alone is unlikely to trigger motley transmiss.ion concerns. As
described above, FinCEN permits the unlicensed development of anonymizing software provided
that the developer does not use such software to engage in money transmission servjces, and the
developers of dapps alone are not money transmitters. Therefore, even if the Site were to be
considered an integral part of Tornado Cash, development of the Site would not constitute money
transmission.

        Operation of the Site is also unlikely to constitute money transmission itself, although it
does increase the risk of separate money laundering liability concerns we describe separately in
this Analysis. Even as the operator of the Site, PepperSec does not actually accept or transmit user
funds. The front end provides one method to access the Tornado Cash smart contracts, but users
are not obligated to use this interface. Experienced users can interact directly with the Tornado
Cash smart contracts. Alternatively, users can access a version of the user interface directly on the
Ethereum network that is hosted on IPFS and not subj ect to control by PepperSec. The various
ways to interact with Tornado Cash in conjunction with - or independent of- PepperSec highlights
the fact that PepperSec is not providing money transmission services or operating Tornado Cash

65
    ld. at 20 (" An anonymizing software provider is no1 a money transmitter. FinCEN regulations exempt from the
definition of money transmitter those persons providing "the delive1y. Gommunication. or oetwotk access services
used by a money transmitter lo support money transmission services." This is because suppliers of tools
(communications. hardware. or soft.vare) that may be utilized in money transmission, like mumy,11izi11g software, ate
engaged in trade and not money transmission.") (emphasis added).
c'6 Id. at 27.
M fd.




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itself when it provides access to the Site. Instead, PepperSec provides just one of several services
that can be used to access Tornado Cash as a dapp, and we believe there are therefore strong
arguments that the Site's development and operation similarly qualify for the Developer
Ex.emption.68

             c. Tomado Cash May Constitute a }vfo11ey J,·ansmiller Dapp that is independent of
                 PepperSec

        In the2019 Virtual Currency Guidance, Fi nCEN stated that, "when [da]pps perfonn money
transmission, the definition of money transmitter will apply to the [da]pp, the owners/operators of
the [da]pp, or both." 69 The framework FinCEN applies in assessing dapps is the same framework
they apply to operators of CVC kiosks (e.g. Bitcoin ATMs). FinCEN defines eve kiosks as
"electronic tenninals that act as mechanical agencies of the owner-operator, to enable the owner-
operator to facilitate the exchange of eve for currency or other eve," and to the extent that an
operator uses the electronic terminal " to accept currency from a customer and transmit the
equivalent value in eve (or vice versa)," 70 they are engaged in money transmission. This
conclu.sion obtains irrespective of whether the CVC being exchanged is the owner-operator's or is
corning from a third party site as a result of a real-time exchange. 71

        It is possible that FinCEN would view the Tornado Cash smatt contracts themselves as a
dapp engaged in money transmission services. According to PepperSec themselves, the deposit
contract plainly accepts CVC from depositors for storage, and subsequently transmits CVC on
behalf of those depositors to other persons or locations. As such, the Tornado Cash smart contracts
do appear to qualify for money transmission services. Further, FinCEN has stated that " persons
who accept and transmit value in a way ostensibly designed to protect the pri vacy ofthe transmittor
are providers of secure money transmission services and are not eligible for the [I]ntegral
[E]xemption,'' because secure money transmission services are not a distinct business from
generally providing money transmission services, and the Integral Exemption requires that
distinction.72

        Notwithstanding the above, we believe PepperSec is distingui shable from operators of
eve kiosks and has better arguments that it is not an owner-operator of Tornado Cash in the same
style of an owner-operator of a CVC kiosk. Unlike owner-operators of CVC kiosks, PepperSec
does not own Tornado Cash (i.e. anyone can access the publicly available source code and redeploy
it on IPFS under the terms of an open source Jicense), operate it for its own benefit, or otherwise
generate revenues from operating and owning the Site. They have no ability to maintain, modify
or upgrade the platform after burning their administrative key, and future iterations of Tornado
Cash would require that users elect to opt into the new smart contracts. In contrast, owner-operators

68
    We reiterate here that PepperSec does not derive revenue from the Site. suggesting that it. is not engaged as a
business in providing services. even if operation of the Site were to somehow quaJif)' as providing money transmission
seJVices.
69
    See the 2019 Virtual Currency Guidance, supra note 47 al 18.
70 Id.
1 1 Id.
12Id. at 19 (discussing a prior administrative order wherein FinCEN rejected an applicant's claim that providing a

service which accepted and transmitted value for transm.ittors in a way designed to presenre their privacy alone was
providing security services separate from secured money transmission).




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of CVC kiosks unilaterally control access to their kiosks, are responsible for their upkeep, and they
can modify them to the extent legally permissible. Even as it conceptualized its own definition of
a dapp, FinCEN recogruzed that, " [g]eneraliy, a [da]pp user must pay a fee to the [da]pp (for the
ultimate benefit of the owner/ope1·ator) in order to run the software,"73 and they specified that
either or both of a dapp and its owner-operator may qualify as money transmitters.

          It is unclear what outcome may obtain if our Analysis holds and Tornado Cash as a dapp
is considered a money transmitter while PepperSec as its developer qualifies for applicable
exemptions. There is no precedent for such an assessment, but we expect that should they take
issue with Tornado Cash, FinCEN might strongly dissuade PepperSec from deploying future
iterations of Tornado Cash under the specter of threatening potential money transmitter violations
before pursuing formal action, as they may wish to avoid setting bad precedent with a losing case
if this theory does not hold. It would then be incumbent on PepperSec to decide whether it wished
to continue to proceed with their development efforts, although we believe recent actions, such as
the development of their compliance tool, suggest that PepperSec could continue developing a
version of Tornado Cash that ensures privacy but allows money transmitters transacting with
Tornado Cash users to meet their BSA obligations. Further, while a constitutional discussion is
not the subj ect of this Analysis, PepperSec may have compelling arguments that FinCEN would
infringe its First Amendment rights by compelLing them to cease development of a free, open-
source tool. 74

         If Dragonfly elects to move forward with an investment, we believe that you should
prioritize understanding what future iterations of Tornado Cash will look like in diligence, and
critically, what revenue sources PepperSec is considering, because both of these factors may
increase the risk of collapse in the distinction between Tornado Cash the dapp and PepperSec the
developer. While we believe they may have multi pronged argwnents as outlined above, if the key
consideration for whether PepperSec as a money transmitter is whether they're engaging in
commercial activity, then a path towards long-term profitability may elude then, without
substantial structural changes. Whether such changes can be implemented while preserving the
unique value proposition of Tornado Cash is a detetminati.on we defer to the reader and the
PepperSec team.

             d. Prior Conduct by PepperSec May Have Constituted A4oney Transmission Senlices



73
  Id. at 18 (emphasis added).
74
   While the adage "code is speech" has often been misinterpreted as an unfettered right. to propagate software code
with no oversight or restraint_ it is rooted in actual case law that may be relevant for PepperSec. Specifically, in
Bernstein v. US Dept. ofState, 922 F. Supp. 1426 (N.D. CaJ. 1996) ("Bernstein"), the court recognized that source
code. including "functional" source code. could be expressive speech for purposes of the First Amendment and may
therefore be entitled to protection from unlawful govcmment restraint. In that case. coincidentaJly. the plaintiff wished
to publish a paper along with an e ncryption algorithm and the underlying source code related to the algorithm. but
export laws required that he submit his work to, register witlL a nd obtain special licenses from tJ1e U.S. government
prior to doing so. The plaintiff, represented by attorneys from U1e Electronic Frontier F01mdation, argued that this was
an unlawful restraint on his First Amendment right of expression, and the team evemually secured a victory on First
Amendment grounds when the court likened source code production to other unorthodox fom1s of expression. This
led to tJ1e U.S government materially changing its e:-.'J)ort regulation requirements and learung to tlle now oft
misrepresented "code is speech" proverb.




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        Although the current iteration of Tornado Cash appears to have sound legal arguments and
demonstrate good faith efforts to ensure compliance with applicable law, certain of their prior
actions may have, individually or in the aggregate, created yet l.lllrealized liabilities that could pose
enforcement risk in the future. Specifically:

            •   Administrative Key and Multi-Signature Wallet Control: Until at least May
                2020, PepperSec retained control of an administrative key that gave it emergency
                access to user funds in the event of a failure, allowed upgradeability of Tornado
                Cash smart contracts, and gave it control of other critical smart contract features.
                This unjlateral control may have created potential liability under the BSA, as
                FinCEN may allege that the ability to move user funds alone sufficed to constitute
                money transmission, but this argument is lacking. Even if we assume that the
                administrative key could move user funds arbitrarily, we are unaware of any prior
                cases or enforcement actions conducted by FinCEN where the mere ability to touch
                user funds alone without actually engaging in money transmission services has been
                found sufficient to make that person a money transmitter.

                However, the multi-signature wallet actually used by PepperSec prior to the
                completion of its Trusted Ceremony and transition to a fully permissionless system
                poses more risk. Because PepperSec was in sole control of the multi-signature
                wallet until May 2020, any user funds deposited there were ultimately subject to
                their sole controJ. During this interim period then, the Tornado Cash wallet holding
                user funds may have qualified as a "hosted wallet" (i.e. custodial) under the 2019
                Virtual Currency Guidance. Hosted wallet providers are considered money
                transmitters, and while multi-signature waUet service providers are exempt from a
                similar classification, that exemption requires that the multi-signature wallet
                provider be providing additional verification on behalf of users rather than itself

                Dragonfly might consider asking for further details about the administrative key
                and multi-signature wallet as part of its due diligence process, particularly with
                respect to any actions that hcn1e not been publicly announced and may have
                implicated user funds. If it wished to take an aggressive stance, requesting a special
                indemnity for any liability that might arise in connection with PepperSec' s activity
                operating the multi-signature wallet and holding the administrative key could
                provide the fund with extra protection, but PepperSec may balk at the request.

            •   The October Bug and the Version 2 Upgrade: As described in Part IT, the
                Company responded to a critical bug in October 2019 by withdrawing user funds
                and moving them to another set of smart contracts before ul timately deploying them
                to a third set of smart contracts in connection with the Version 2 Upgrade. Unlike
                mere development activity, this activity may be viewed as providing money
                transmission services as an Exchanger, because PepperSec previously accepted
                funds into smart contracts they controlled (by virtue of owning the administrative
                key to the multi signature wallet where funds were held) and later transmitted those
                funds to another set of smart contracts. Further, as mentioned above, the




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         multisignature wa1let used by the company at the time may constitute a "hosted
         wallet" that held all user funds under the 2019 Virtual Currency Guidance.

         Dragonfly might consider asking for further details about this migration, whether
         any regulators have reached out in connection with the October 2019 Bug or the
         Version 2 Upgrade, and, ifit wished to take an aggressive stance, request a special
         indemnity for any liability that might arise in connection with PepperSec' s activity
         in connection with the October 20 19 Bug, but PepperSec may balk at the request.

     •   Relayer Activ ity: During the launch phase of Tornado Cash and until at least
         December 17, 2019, it appears that PepperSec provided the sole Relayer service. It
         is possible that FinCEN would al lege that the Rel ayer service, unlike development
         activity, entails more than just providing the means for money transmitters or users
         to engage transactions. Rather, they might aUege that the Relayer service involved
         actually accepting funds from users and transmitting them to another person or
         location (i.e. the recipient).

         This allegation is less likely to obtain relative to other allegations FinCEN may set
         out, because no Relayer actua11y has access to user funds based on our
         understanding of Tornado Cash' s infrastructure. Rather, the Rel ayer only accepts
         instructions from a user and prepays the gas transaction fee to the Elhereum network
         miners on behalf of the requesting user so that the Tornado Cash smart contracts
         can release funds to the requesting user. In this sense, we think it more appropriate
         to view the Relayer as akin to a money transmittor, because they provide the first
         set of instructions to the Tornado Cash smart contracts to release previously
         accepted funds to the user (users cannot submit these instructions absent the
         requisite transaction fee being paid to the network).

     •   February 2020 Bug: Also as described in Part Il, the Company responded to a bug
         in February 2020 by upgrading the user interface for the Site. Unlike their response
         to the October 2019 Bug, PepperSec did not take any possessioh of user funds or
         exercise any control of their administrative keys. Instead, PepperSec modified the
         back-end operation of the Site and redeployed it.

         Assuming our analysis that operation of the Site alone does not qualify as money
         transmission obtains, we believe that PepperSec' s response to the February 2020
         Bug does not pose more material risk than most of their prior actions (excluding
         the October 2019 Bug and control of the origina1 multi-signature wa1let). Their
         conduct in this event consisted solely of modifying the means in which people can
         access Tornado Cash on the Site, which would appear to remain subject to the
         Developer Exemption, since PepperSec is merely modifying the means in which
         money transmittors (i.e. users and Rel ayers) interact with Tornado Cash. Moreover,
         users cou1d continue to access Tornado Cash directly on the Ethereum network
         without being exposed to this bug.




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        We note that, in the event any of the aforementioned risk areas are realized, the Integral
Exemption is unlikely to provide a reliable exemption for PepperSec to consider. As referenced
previously in this Analysis, FinCEN does not view providing secured money transmission services
as a sufficiently distinct business from typical .money transmission services and has therefore
rejected applying the Integral Exemption in similar contexts.

         If PepperSec was engaged in any or all of the above activities ( or had the ability to do so),
the risk of a potential enforcement action would likely increase, because they suggest that they are
not just developers of Tornado Cash, but the operators providing mooey transmission services.
However, it appears to us that they have largely removed any ability from them to engage in this
future activity. Whether FinCEN will pursue them for prior actions is unpredictable, and while the
agency is frequently willing to work with developers, privacy preserving technology is often
subject to more scrutiny and less sympathy due to the common assumption that such technology
can thwart Jaw enforcement efforts. Because statutes of limitations on most claims referenced in
this Analysis are at least 5 years, absent requesting a no action letter from FinCEN, risks described
above may persist through 2025 at the earliest.

             e. PepperSec.Nlay Still be Subject to Money Laundering Liability Risk

        In concluding this review of applicable federal law, we also highlight that, irrespective of
PepperSec' s status as a money transmitter, criminal penalties for money laundering and related
crimes may obtain. Money laundering requires the intent to process criminally obtained proceeds
in a manner that obfuscates their illegal source. While PepperSec might plausibly argue that it
cannot possibly know whether any particular user's source of funds has been obtained illegally or
that such user is using Tornado Cash to engage in criminal conduct, the U.S. government has been
surprisingly aggressive in pursuing certain cryptocurrency related violations. 75 It is foreseeable
that they could - not unreasonably - allege that PepperSec knows that some percentage of
transactions conducting on Tornado Cash will necessarily have tainted funds, because there have
been public reports of malicious actors using the platform to cleanse funds following hacks, 76 and
PepperSec itself has provided tutorials on how to more effectively use Tornado Cash to preserve
privacy. 77 And, in February of this year, the Department of Justice brought suit against an
individual providing mixing services, charging them with money laundering conspiracy, operating
an unlicensed money transmitter business, and engaging in money transmission without a state
license (the "Harmon Case").78


75
   See Daniel Palmer, Ethereum Developer Virgil Gr{fjith Indicted Over Norlh Korea Event Appearance, Coin:Oesk
(January 9, 2020), hups:/fo,,·w.coindesk.com/ethereum-dcveloper-virgil-griffitl1-indicted-over-north-korca-evcnt-
appearancc.
76
   See e.g., Messa.ti, De Fi faces a1101her high-profile altack as Balancer loses $SOOK, Mcssari.io (June 29, 2020),
htlps://messari.io/article/dc.Ji-faces-another-high-profile-attack-as-balancer-loses-500k (noting that a hacker
immediately moved funds lo Tornado Cash following an anack to cleanse the proceeds).
77 See Tornado Cash, How 10 stav anonymous with Tornado.cash and similar solutions, Mediwn (Jan. 3, 2020),

htlps://medium.coni//aJtomado.cash/how-to-stav-anonvmous-with-tornado,casl1-and-similar-solutions-
efdecdbd 7d3 7.
78
   See Depa11ment of Justice, Office of Public Affairs, Ohio Resident Charged with Operating Darknet-Based
Bitcoin "Mixer,,. which Laundered Over $300 Million, The United States Department of Justice (Feb. 13, 2020).
htlps://www.justice.gov/opa/pr/ohio-rcsident-chareed-operating-darknet-based-bitcoin-mixer-which-laundered-o,·cr-
300-million.




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         However, whil e PepperSec has a non-zero risk of exposure to money laundering risk, we
believe there are reasonable grounds to view them as qualitatively different from instances like the
Harmon Case. In the Harmon Case, the defendant operated a custodial mixer as a for profit
enterprise to conceal illicit tran sactions on the darknet. 79 Jn contrast, PepperSec has no access to
user funds, does not operate Tornado Cash as a business, and has no insight into who uses the tool.
Further, out prior discussjon established that PepperSec has strong arguments that its current
activities do not constitute money transmission activities under the 2019 Virtual Currency
Guidance. The defendant in the Harmon case clearly accepted and transmitted funds on an ongoing
basis to enrich themselves. And, PepperSec may

        As before, PepperSec' s prior actions may create slightly more risk in this regard. For
instance, when the multi-signature wallet was controlled by the company, the aforementioned
arguments lose some potency. If PepperSec was actually engaged in money transmi ssion when it
transferred funds as part of the V2 Upgrade, or if it was publicly known that criminal proceeds
were being laundered through Tornado Cash at that time, there may be grounds for the DOJ to
argue tJ1at PepperSec facilitated or conspired to facili tate money laundering. While PepperSec
cannot mitigate actions that have a1ready transpired, we would expect that they would seek to
refrain from similar conduct to reduce the likelihood of gra ppli ng with these issues.

     V. Applicable State Law

        Nearly every U.S. state80 and territory regulates money transmjss.ion activity separate from
the BSA Regulations and requires state-specific licenses to provide money transmission services
to their residents. Each jurisdiction has the authority to interpret its own law and vary in their
definitions, but almost all generally cover entities that act as intermediaries between part.ies to a
transaction who receive money for transmission or otherwise transfer "monetary value" 81 between
one person or location and another. States have taken different approaches with respect to virtual
currency. These actions span the gamut, from establishing entirely new regulatory regimes (e.g.,
New York), to incorporating virtual currency activities into the already existing state money
transmission laws, to offering little or no guidance.82 Others still have taken the view that their




79
   See Id.
811
   Montana does not currently regulate money transmission.
81
   The application ·of state laws to virtual currency has led to an assortment of court decisions in different j urisdictions.
For e:xample, in the Florida v. Espinoza, the State of Florida charged Espinol.a with two counts of money laundering
and one count of unlawfully engaging as an MSB. In that instance. Espino:;,,a posted to onlinc fomms 10 sell bitcoin
for cash and arranged local meetings whe re he would provide tl1em with instnictions on where lo deposit the Bitcoin
in exchange for the cash. Espino7..a was arrested charged aft.er undercover law e nforcement made two purchases from
him. In response to Espinoza' s motion to dismiss, the Circuit Com1 of Florida's Eleventh Judicial Circuit held that
Espinoza's activities did not violate the law because the Espinoza was a seller, as opposed to a middleman. in a
transaction for the transfer of money from one person to another. With respect to the money laundering claim, t11e
Court found that bitcoin was not a monetary instrument and therefore not money law1dering. See Order Grantfog
Defendant's Motion to Dismiss the information, State v. Espinoza, Fl 4-2923 (Fl. ll th Cir Ct. Jul. 22. 2016).
~" See, e.g.. Ca, Fin. Code §§ 2000 et seq., NY Banking Law §§ 640 et seq., Tex. Fin. Code §§ 15 1.201 - 151.860.
See also Nat' I Money Transmitters Ass'n, State-by-State Regulation.




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money transmi ssion laws do not apply to CVC at all, because they do not constitute money or
"monetary value." 83
        Wllile the application of state laws to virtual currencies varies, licensing requirements are
fairly consistent and may include:
             •   Submission of personal history, personal financial statements and credit records of
                 officers, directors? and 10% or more shareholders ("Control Persons");
             •   Audited financial statements of the company and any parent or subsidiaries,
                 including evidence of minimum tangible net worth/capital;
             •   Obtaining surety bonds in each state;
             •   A detailed business plan outlining product, targets markets, projections, and fee
                 schedule;
             •   Criminal and civil background checks on Control Persons performed by a third-
                 party, including fingerprinting; and
             •   Listing all civil and criminal complaints and regulatory actions brought against a
                 Control Person for some period of time prior to application.
        Each state' s money transmission laws would need to be considered in light of the facts and
circumstances of PepperSec' s activity and Tornado Cash to detennine if a license is required. A
full analysis of each state' s laws is beyond the scope of this Analysjs, but key principles can be
broadly derived.

        In states where CVCs are subject to money transmission laws, the analysis is often similar
to an analysis under the previously described federal framework. That is, whether a person
constitutes a money transmitter typically turns on tbe role it plays in accepting and transmitting
value between participants to a transaction. Where a person serves as an intennediary and holds
funds on users' behalf for distribution, their activities may constitute money transmission.
Conversely, where a person merely provides instructions or develops software that others use to
engage in money transmission, money transmission is not typically found.

        From thi s perspective, PepperSec' s activity as a mere developer of Tornado Cash or
making the Site publicly available may not constitute money transmission under many states' laws.
But certain states may still view the operation of the Site as money transmjssion, and certain past
or future activities, such as PepperSec' s response to the October 2019 Bug or future business
models wherein they are generating revenue from the operation of the Site, may be viewed by
some state regulators as money transmission. Further, every state does not have a corresponding
exemption to the Developer Exemption, unlike at the federal level. As such, while we believe that



83
   See Texas Department of Banking. Supervisory Memorandum - 1037, Regulatm:v freatment of Virtual Currencies
under the Texas A,foney Services Acl (Apr. L 2019) (" Because cryptocurrency is not money under 01e Money Services
Act receiving it in exchange for a promise to make it available at a later time or different location is not money
transmission."). htLps://www.dob.texas.goY/public/uploads/files/consumer-information/smlU37.p<lf. We note.
however. that stablecoins backed by sovereign currency such as USDC may receive different treatment in these
regimes.




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their activities pass muster in several states, a detailed analysis of each would be warranted for
greater assurance.

         One unique jurisdiction warranting separate mention is the state of New York. ln addition
to having a money transmission framework, New York has also passed legislation specific to
regulating virtual currencies. 84 This l.egislation., known as tbe BitLicense, provides New York state
regulators with an expansive scope of authority. This authority includes the authority to regulate
any person "receiving [v]irtual [c]urrency for [t]ransmission or [t]ransmitting [v]irtual [c]urrency"
or persons "storing, holding, or maintaining custody or control of [v]irtual [c]urrency" on behalf
New York residents. While certain exemptions may apply, including an exemption for developers
of software alone, 85 New York regulators have adopted a broad view of their mandate under the
Bitlicense. As such, PepperSec should consider whether it wishes to IP ban New York internet
protocol addresses out of an abundance of caution, since those activities may create obligations to
register and observe the compliance requirements of the Bitlicense, in addition to certain state' s
money transmission rules. If future activities hew more closely to traditional money transmission,
we would recommend PepperSec working closely with counsel before offering engaging in those
activities in the state of New York.

VI. Summary and Conclusion

      Federally, PepperSec has strong arguments that it is not a money transmitter from several
perspectives. As tbe creator of Tornado Casb, it is acting in a software developer capacity and
engaged in trade. It does not provide services as an Exchanger or an Administrator in this capacity,
and such activities should fall within the Developer Exemption, as FinCEN specifically identified
this type of anonymizing software provider as being eligible to avail itself of the Developer
Exemption in the 2019 Virtual Currency Guidance. As the platfom1-operator of the Site, it is not
responsible for accepting or transmitting funds. And, since May 2020, it has had no ability to
modify the underlying smart contracts for Tornado Cash. These models should therefore fall
outside of the scope of FinCEN's regulatory authority.

       If certain activities were to potentially implicate the BSA Regulations, prior actions (and
any future actions or business models) entailing PepperSec's control of user funds or Tornado
Cash itself appear most apt to be the culprit. In those instances, PepperSec may have acted in a
custodial capacity for users and not si mply as a developer, but as the manager of a secured money
transmission service. Future business models may be Jess fraught with compl iance issues but
should still be assessed against the framework described herein.

         As PepperSec considers monetizing it' s technology, relevant questions pertaining to bow
it will generate revenue become critical, because the categorization ofan actor or potential liability
often turns on whether -it -is engaged in conducting business or merely personal consumptive


84 23 NYCRR Part 200.
85
   See Ne,,1 York State Department of Financial Services, Bitlicense Frequent~'/ Asked Questions (last accessed June
13, 2019) ('"Do I need a BitLicc nse simply to devc.loJ) software? No. The development of software in and of itself
does                      not                     require                       a                      BitLicense." ),
hllps://\vww.dfs.ny.gov/apps_and_licensing/virtual_cnrrency_businesses/bitlicense_ faqs.




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activity. ln particular, to the extent that any business plan involves (i) custody of user funds, (i i)
charging fees on transactions with a high probability of having a criminal source of proceeds, or
(iii) operating a Relayer for profit, we would strongly encourage the company to discuss its plans
with their counsel, as these appear to be potential areas where fees can be generated but that may
also have material impacts on their legal status.

        Although this Analysis does not purport to provide a thorough state-by-state analysis, the
aforementioned analyses remain largely applicable at the state level where CVCs are regulated in
line with the federal approach. However, where there may be the Developer Exemption available
at the federal level, all states do not similarly provide for analogous exemptions. Even where
PepperSec is comfortable proceeding on a federal level and in most states then, they should
specifically consider states like New York, which may have more stringent legislation applicable
to virtual currency operators.

        For Dragonfly, we would recommend that, at a minimwn, you leave the diligence process
with (i) a comfo1iable understanding of Tornado's past actions and any unannounced activity of a
similar kind, if appl icable, (ii) a high-level sense of long-term monetization possibilities and
whether they can be accomplished without implicating the issues highlighted in this Analysis, (iii)
knowledge about what other compliance efforts the team can integrate if a regulator attempted to
compel further amendments to Tornado Cash. This would equip the fund with relevant facts to
assess its comfort with potential legal risk for the foreseeable future, but also to potentially assess
the likelihood of large-scale growth without putting PepperSec' s principals at risk or become
subject to regulatory enforcement actions.

         To mitigate future risks, PepperSec could ultimately elect to register with FinCEN and
seek licensure from relevant states, or it could instead elect to restrict the availability of Tornado
Cash from certain users. However, it is unclear to us that PepperSec could meet BSA obligations,
or that it cat1 reliable prevent access to any user since it does not host the sole access point to the
Tornado Cash smart contracts and cannot blacklist anyone. Should PepperSec become subject to
the BSA Regulations or applicable state law though, the process of registration and/or licensure
would include the need to register with applicable agencies, maintain appropriate AML, CFT,
and/or consumer protection processes, hire and train appropriate staff to satisfy compliance
obligatiot1s, and observe certain disclosure, reporting, and record retentiot1 requiremet1ts.

        To di scuss this Analysis, the requirements and obJj gations of operating as an MSB, or any
related questions, please feel free to reach out directly.




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